     Case 2:20-cv-01105-AB-JEM Document 78 Filed 12/02/21 Page 1 of 1 Page ID #:1298



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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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10                                               )
      WASHOUTPAN.COM, LLC, a California          )    Case No. CV 20-1105-AB (JEMx)
11    limited liability company,                 )
                                                 )
12                              Plaintiff,       )    ORDER ACCEPTING FINDINGS AND
                                                 )    RECOMMENDATIONS OF UNITED
13                 v.                            )    STATES MAGISTRATE JUDGE
                                                 )
14    WHITE CAP, L.P., a Florida limited         )
      partnership; and DOES 1-10, inclusive,     )
15                                               )
                                Defendants.      )
16                                               )
17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings, the records on file,
18    and the Report and Recommendation of the United States Magistrate Judge. No Objections
19    to the Report and Recommendation have been filed within the time allowed for Objections.
20    The Court accepts the findings and recommendations of the Magistrate Judge.
21          IT IS HEREBY ORDERED that White Cap, L.P.’s (“White Cap’s”) Motion For
22    Terminating Sanctions is GRANTED IN FULL, and the Clerk is directed to enter judgment in
23    favor of White Cap on all claims, and a monetary award inclusive of all sums previously owed
24    by Washoutpan.com, LLC, through the Court’s prior orders, amounting to a total of $5,625.50.
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      DATED: December 2, 2021
26                                                        ANDRE BIROTTE, JR.
                                                     UNITED STATES DISTRICT JUDGE
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